Case 1:13-cv-08281-JCF Document 82-2 Filed 02/16/16 Page 1 of 5




                   Pia i ntiff' s

                  Exhibit liB"
                   13cv8281
               Case 1:13-cv-08281-JCF Document 82-2 Filed 02/16/16 Page 2 of 5
                                                                       23


  1 J. FLORES
  2 correct?
  3                   A.          Yes.
  4                   Q.          And you can also make a

   S determination as to whether or not a person
   6 is eligible to be arrested based on
   7 probable cause, correct?
      8                A.         Yes.
      9                Q.          i 1m   sorry, your   title   now,

  10            again, is?
   11                   A.         Supervising investigator.
                                   And in your capaci ty as
                                                            a
   12                   Q.

   13 supervising investigator, you could also
      14 direct one of your investigators to make an
      lS arrest?
      16                            MS. KRASNOW: Fo rm.

      17                   A.       Yes.
      18                   Q.        So let's go back to November

          19 24, 2010.
          2 0 Who call e d you?
          21                A.       Someone from the office, I

          22 don i t recall exactly who called me.
          23                 Q.      And what, if anything, did they

          24 tell you when they called?
          2S                 A.       They needed a supervisor to

                                                        info~diamondreporting. com
8~AMOND REPORTING                 (718) 624-7200
                                              23
              Case 1:13-cv-08281-JCF Document 82-2 Filed 02/16/16 Page 3 of 5
                                                                   24



1 J. FLORES
2 respond to that iocation.
                    Q.         And what did you say to that?
3
                    A.          I said okay.
4

                     Q.         Did you ask them why you needed
 S

    6 to go over there?
                     A.         They just said they needed an
    7

     8 extra supervisor and I went directly there.
               Q.    Did they tell you what the
     9

 10 subj ect of the event taking place that you
    11 had to go to, did they tell you what was
     12 going on, that person on the phone?
     13 A. There was possiblY going to be
        14 a search warrant at this locarion and an
        15 arrest had been made, so they needed an
        16 extra supervisor.
                          Q.       At the time you received that
        17
        18 phone call, were you informed which
         19 investigators were on the scene?
                          A.       No.
         20
                           Q.       So my understanding is the
         21
         22 person that spoke with you conveyed to you
          23 that there was an arrest made and that
             24 there was a pending search warrant that was
             2S going to be executed, correct?
                                                      info~diamondreporting. com
D~AMOND REPORTING (718) 624-7200
                            24
             Case 1:13-cv-08281-JCF Document 82-2 Filed 02/16/16 Page 4 of 5
                                                                     42


   1 J. FLORES
    2 going to do that?
    3                A.         No.
    4                Q.          Did you talk to him about her

    5 possibly being a subject in your
    6 investigation?
    7                A.          No.
    8                 Q.         Outside of that statement by

    9 the duty captain, was there any further
   10 conversation between you and the duty
   11 captain concerning Sergeant Diaz?
   12                 A.         Not that I remember.

    13                Q.          Did there come a time you spoke

    14 with Sergeant Diaz in her residence on
    1 5 Nov emb e r 2 4 , 2 0 1 0 ?

    16                 A.         Yes.
    17                 Q.         What, if anything, was said?

    18                 A.         I advised her that -- I

    19 distinctly remember I advised her that I
    20 didn't want to interview her, that I wanted
    21 to talk to the delegate, the sergeant
        22 delegate. And I also advised her that we
        23 were wai ting for a search warrant for her
        24 place.
        25                 Q.      What were you going to ask her?


=~AMOND REPORTING               (718) 624-7200     info~diamondreporting. com
                                         42
             Case 1:13-cv-08281-JCF Document 82-2 Filed 02/16/16 Page 5 of 5
                                                                      29


    1                                  J. FLORES

    2                 Q.          So when you're approaching the

    3 address that you were told to go to, you
    4 see the officers in front on the steps you
    5 mentioned.
    6 Did you proceed inside?
    7      A. Yes, sir.
        8              Q.         Prior to going inside, did you

        9 address anyone of those officers on the
   10 way in?
   11                  A.         I believe the duty captain was

    12 by the front door and I am sure that I got
    13 into a conversation with the duty captain.
    14                  Q.         Prio~ to walking up those steps

    15 and seeing those officers, did you see
    16 anyone else outside that location?
    17                  A.         I don't remember.

    18                  Q.         Did you see any members from

        19 DANY' s investigation team?
        20                 A.      They were somewhere, but I

        21 don't remember exactly where they were.
        22                 Q.      But my question is: Did you

        23 see any of them?
        24                 A.       At some point, yes.

        25                  Q.      What was that, I'm sorry?


J=AMOND REPORTING                (718) 624-7200     info~diamondreporting. com
                                          29
